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9
                           UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11
   STEPHANIE CLIFFORD a.k.a.                    CASE NO.: 2:18-cv-05052-SJO-FFM
12 STORMY DANIELS, an individual,               Assigned for All Purposes to the
                                                Honorable S. James Otero
13
                       Plaintiff,
14                                              PLAINTIFF STEPHANIE
           vs.                                  CLIFFORD’S REPLY BRIEF IN
15                                              FURTHER SUPPORT OF MOTION
16
                                                TO REMAND
   KEITH M. DAVIDSON, an individual,
17 MICHAEL COHEN, an individual, and            Hearing Date: July 23, 2018
   DOES 1 THROUGH 10, inclusive                 Hearing Time: 10:00 a.m.
18
                                                Location: Courtroom 10C
19
                       Defendants.              California Superior Court Action
20                                              Filed: June 6, 2018
21   KEITH M. DAVIDSON an individual,
22
                       Cross-Claimant,
23
           vs.
24

25
   MICHAEL COHEN; AND ROES10 TO
26 20, INCLUSIVE

27

28                     Cross-Defendant.


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1    I.       INTRODUCTION
2             Defendant Cohen concedes district courts in the Central District would find removal
3    improper under the facts of this case—namely, where the out-of-state defendant removes
4    before the forum defendant has been served. This ends the analysis. But instead of
5    simply accepting the reality that this case does not belong in federal court as a matter of
6    law, he instead burdens this Court with a litany of far-fetched “kitchen-sink” arguments in
7    the hope that one will resonate despite the law establishing the impropriety of removal.
8    The Court should not be taken in by this naked attempt to distract the Court.1 The Court
9    must “strictly construe the removal statute against removal jurisdiction.” Gaus v. Miles,
10   980 F.2d 564, 566 (9th Cir. 1992). “[I]t is to be presumed that a cause lies outside [the]
11   limited jurisdiction [of the federal courts] and the burden of establishing the contrary rests
12   upon the party asserting jurisdiction.” Hunter v. Philip Morris USA, 582 F.3d 1039, 1042
13   (9th Cir. 2009). “[J]urisdiction must be rejected if there is any doubt as to the right of
14   removal[.]” Gaus, 980 F.2d at 566. Here, Mr. Cohen fails to meet his burden.
15   II.      ARGUMENT
16            A.    The Rule in the Central District Requires Remand.
17            As Plaintiff argued in her Motion, “[t]he strong consensus in the Central District”
18   requires remand.” Black v. Monster Beverage, No. EDCV1502203MWFDTB, 2016 WL
19   81474, at *3 (C.D. Cal. Jan. 7, 2016). This Court’s decision in Austin v. AstraZeneca, No.
20   CV1301544SJOJCGX, 2013 WL 12142637 (C.D. Cal. Apr. 22, 2013), should govern.
21   There, this Court held that “permitting removal under § 1441(b) by a non-forum defendant
22   before any defendant has been served is not in keeping with the purpose of the forum
23   defendant rule because it promotes gamesmanship by defendants” and is not “consistent
24   with Ninth Circuit precedent requiring district courts to strictly construe the removal
25   statute against removal jurisdiction.”     Id. at *2 (emphasis added); see also Burr v.
26
     1Indeed, many of these arguments should be rejected due to Mr. Cohen’s failure to
27   properly meet and confer. [See Declaration of Ahmed Ibrahim (“Ibrahim Decl.”) ¶¶2-6,
     Exhs. 1-2.]
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1    Medtronic Minimed, No. CV1104732SJORZX, 2011 WL 13220775, at *4 (C.D. Cal.
2    Aug. 9, 2011) (Otero, J.). Mr. Cohen cannot change the law of the Central District (which
3    stands on sound principles) and his attempt to establish a “circuit split” does not change
4    the rule in this District and the prior decisions of this Court. The Court should follow that
5    consensus and its prior decisions and reject the clear gamesmanship of Mr. Cohen.
6            B.    Defendant Keith Davidson Was Not Fraudulently Joined.
7            Plaintiff properly states the possibility of a claim against Mr. Davidson and he is not
8    a sham party. Leaving aside monetary damages, Plaintiff seeks return of her personal
9    property, namely her client file. This is a request for relief that could only be asserted
10   against Mr. Davidson.
11           Mr. Cohen is mistaken that this Court can or should look to federal pleading
12   standards under Twombly and Iqbal to determine fraudulent joinder. Indeed, numerous
13   courts have specifically rejected this argument.2 For example, in Hunter v. Philip Morris,
14   rather than apply federal pleading standards to the issue of fraudulent joinder, the Ninth
15   Circuit construed the “pleadings liberally, as required by Alaska’s notice pleading rules,”
16   and held there was no fraudulent joinder. 582 F.3d at 1046 (emphasis added). The Ninth
17   Circuit explained “[i]f there is a possibility that a state court would find that the complaint
18   states a cause of action against any of the resident defendants, the federal court must find
19   the joinder was proper and remand the case to the state court.” Id. (emphasis added).
20           Mr. Cohen’s argument thus applies an incorrect standard of law and cannot sustain
21   his burden to establish jurisdiction. Hunter, 582 F.3d at 1042. Mr. Cohen further argues
22   that the allegations are conclusory and should be disregarded. [Dkt. No. 18 at 12:20-
23   13:13.] While this is not the correct standard, even if it were, there is no basis to disregard
24   the allegations as conclusory. Quite the opposite, the allegations are supported by the
25   2
     See, e.g., Shears v. Citimortgage, No. 2:14-CV-02689-TLN, 2015 WL 4393915, at *2
   (E.D. Cal. July 15, 2015); J.P. ex rel. Plummer v. McKesson, No. 2:13-CV-02207-TLN,
26 2014 WL 3890326, at *2 (E.D. Cal. Aug. 7, 2014); IDS Prop. Cas. Ins. Co. v. Gambrell,
   913 F. Supp. 2d 748, 752 (D. Ariz. 2012); Wong v. Michaels Stores, Inc., No. 1:11-CV-
27 00162 AWI, 2012 WL 718646, at *5 (E.D. Cal. Mar. 5, 2012); Nasrawi v. Buck
   Consultants, 776 F. Supp. 2d 1166, 1170 (E.D. Cal. 2011); Davis v. Prentiss Properties
28 Ltd, 66 F.Supp.2d 1112, 1113 (C.D. Cal. 1999).

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1    detailed text message exchange set forth in the Complaint. [Dkt. No. 1-1 at ¶¶18-35.]
2    Here, the Complaint clearly alleges the possibility of relief against Mr. Davidson for
3    breaching the duties he owed to his client. See Stanley v. Richmond, 35 Cal.App.4th
4    1070, 1097 (1995) (inference that plaintiff’s interests “were prejudiced by [the attorney’s]
5    conduct in violation of her fiduciary duties” was sufficient to raise a question of fact).
6          Mr. Cohen’s argument that Plaintiff fails to properly allege that she has been
7    damaged is in reality a dispute over the amount, not existence, of damages. Indeed, even
8    if it were proper to disregard the $100,000 allegation, “California law permits asserting a
9    breach of fiduciary duty claim even when the damages are nominal.” Sorensen v. New
10   Koosharem, No. CV1501088RGKPJWX, 2016 WL 4925917, at *7 (C.D. Cal. Mar. 2,
11   2016); see also Cal. Civ. Code § 3360 (“When a breach of duty has caused no appreciable
12   detriment to the party affected, he may yet recover nominal damages.”) Accordingly,
13   there is no basis to conclude Plaintiff has suffered no damage.
14         Moreover, Plaintiff asserts damages beyond the claim for monetary damages in
15   excess of $100,000. Plaintiff seeks recovery of her client file from Mr. Davidson, which
16   is her property by law and which she could only recover from Mr. Davidson. [Dkt. No. 1-
17   1 at ¶¶54-58, 70; Cal. R. Prof. Conduct 3-700.] Plaintiff seeks attorneys’ fees as damages
18   [id. at 9-10] which are recoverable as damages by virtue of Mr. Davidson’s breach forcing
19   Plaintiff into litigation with Mr. Cohen. See Lee v. W. Coast Life Ins., 688 F.3d 1004,
20   1008 (9th Cir. 2012) (“Under California law, it is a well-established principle that
21   attorney[’s] fees incurred through instituting or defending an action as a direct result of the
22   tort of another are recoverable damages.”). Plaintiff also seeks punitive damages. [Dkt.
23   No. 1-1 at ¶73.]
24         In fact, if Mr. Cohen’s argument regarding damages were credited, it would not
25   establish that removal was proper, but that removal was improper for failure to meet the
26   amount in controversy. 28 U.S.C. § 1332(a). Indeed, Mr. Cohen relied on the allegation
27   that Plaintiff has been damaged in his Notice of Removal stating that it is “facially
28   apparent from the Complaint that Plaintiff seeks well more than $75,000 . . .” [Dkt. No. 1

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1    at 4:2-3.] Mr. Cohen cannot have it both ways. This case should thus be remanded.
2          C.       The Court Should Resolve Subject Matter Jurisdiction First.
3          Plaintiff objects to Mr. Cohen’s attempt to raise the question of personal jurisdiction
4    in his Opposition Brief. Plaintiff is prejudiced by the apparent attempt to limit Plaintiff’s
5    ability to address this issue to the narrow confines of a Reply Brief. Further, subject
6    matter jurisdiction can and should be resolved prior to personal jurisdiction.
7          “[F]ederal courts normally must resolve questions of subject matter jurisdiction
8    before reaching other threshold issues.” Potter v. Hughes, 546 F.3d 1051, 1061 (9th Cir.
9    2008) (Ikuta, J. dissenting). “Jurisdiction is power to declare the law, and when it ceases
10   to exist, the only function remaining to the court is that of announcing the fact and
11   dismissing the cause.”     Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94
12   (1998). District courts frequently decide issues of subject matter jurisdiction prior to
13   reaching other pending motions. See, e.g., Perry v. Luu, No. 1:13-CV-00729-AWI, 2013
14   WL 3354446, at *3 (E.D. Cal. July 3, 2013); Goodwin v. Kojian, No. SACV 13-325-JST
15   JPRX, 2013 WL 1528966, at *2 (C.D. Cal. Apr. 12, 2013); Conroy v. Fresh Del Monte
16   Produce, 325 F. Supp. 2d 1049, 1054 (N.D. Cal. 2004).
17         Although the Supreme Court has stated that personal jurisdiction may be resolved
18   prior to subject matter jurisdiction, this was in the context of a “straightforward personal
19   jurisdiction    issue”   and   “a   difficult   and   novel”   subject   matter   jurisdiction
20   question. Ruhrgas AG v. Marathon Oil, 526 U.S. 574, 588 (1999). The Court
21   emphasized “in most instances” resolution of subject matter jurisdiction should precede
22   personal jurisdiction. Id. (emphasis added); see also Cerner Middle E. Ltd. v. Belbadi
23   Enterprises, No. 3:16-CV-1630-PK, 2016 WL 11188707, at *7 (D. Or. Nov. 14, 2016).
24         Here, efficiency and judicial economy dictate that subject matter jurisdiction should
25   be decided first. This Court should remand without addressing personal jurisdiction.
26         D.       Supplemental Jurisdiction Applies Only to Claims Within One Action.
27         Mr. Cohen’s attempt to invoke supplemental jurisdiction simply does not make
28   sense. “Supplemental jurisdiction must be exercised in the same action that furnishes the

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1    basis for exercise of supplemental jurisdiction. . . . [S]upplemental jurisdiction [can only]
2    be exercised in the same case, not a separate or subsequent case.” Ortolf v. Silver Bar
3    Mines, 111 F.3d 85, 86–87 (9th Cir. 1997). Here, Mr. Cohen cannot use another case as
4    the basis for supplemental jurisdiction. See, e.g., Bridewell-Sledge v. Blue Cross of
5    California, No. CV 14-04744 MMM CWX, 2015 WL 179779, at *10 (C.D. Cal. Jan. 14,
6    2015); Allstate Prop. & Cas. Ins. Co. v. Staats, 2:16-CV-0016-TOR, 2016 WL 830035, at
7    *2 (E.D. Wash. Mar. 3, 2016); Beneficial Fin. I Inc. v. Grace, No. CIV. 11-00624 SOM,
8    2011 WL 6180132, at *2 (D. Haw. Dec. 13, 2011); Monroe v. Gagan, No.
9    2:08CV0018PHXRCB, 2008 WL 4418155, at *6 (D. Ariz. Sept. 29, 2008).
10           E.    The Court Must Rule on Remand Before Considering A Stay.
11           Mr. Cohen has not filed a motion to stay and his assertion that this action, or any
12   other, is an attempt to avoid the stay in Clifford v. Trump is entirely without a factual
13   basis.3 Regardless, the Court must “satisfy itself of its jurisdiction over the subject matter
14   before it considers” other matters. Ruhrgas, 526 U.S. at 583. Therefore, the Court must
15   rule on the motion to remand before it may consider a stay. See Solar v. Buchanan
16   Ingersoll & Rooney, P.C., No. 17CV1846-JAH (AGS), 2017 WL 6270478, at *3–4 (S.D.
17   Cal. Dec. 8, 2017). Consequently, Mr. Cohen’s arguments for a stay are insufficient to
18   avoid remand because the Court must first have jurisdiction, which is absent here.
19   III.    CONCLUSION
20           For the reasons stated above, Plaintiff respectfully requests the Court GRANT her
21   Motion to Remand.
22   3
       Mr. Cohen’s Opposition should not be interpreted as a motion to stay as doing so would
     deprive Plaintiff of the ability to use the full page limit for opposing such a motion. [See
23   Ibrahim Decl. ¶6.] Nevertheless, a stay would be improper because the first to file rule
     considers the “chronology of the lawsuits, similarity of the parties, and similarity of the
24   issues” and is intended to promote efficiency. Kohn Law Grp., v. Auto Parts Mfg.
     Mississippi, 787 F.3d 1237, 1240 (9th Cir. 2015). Here, there is no efficiency to be gained
25   by imposing a stay. Resolution of Clifford v. Trump would do not resolve this action,
     which involves additional parties, claims, and facts. Mr. Davidson could not be joined in
26   the Clifford v. Trump action as it would destroy the Court’s jurisdiction (as his presence
     does here) and his absence in that action does not in any way impede its resolution. See
27   Fed. R. Civ. P. 19(a)-(b). Further, Clifford v. Trump addresses the existence and validity
     of an agreement. This action does not arise out of the same transaction or occurrence. It
28   involves conduct that post-dates that agreement and is not contingent on its enforceability.
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2 DATED: July 9, 2018                  AVENATTI & ASSOCIATES, APC
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4
                                         /s/ Michael J. Avenatti
5
                                       MICHAEL J. AVENATTI
6                                      Attorneys for Plaintiff
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